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                               Exhibit 53



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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DE Div of Medicaid and Medical Assistance (Frank O'Connor)                                December 10, 2008

                                                     Newark, DE

                                                                                             Page 1
                          UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MASSACHUSETTS

         ---------------------------------X

         IN RE: PHARMACEUTICAL INDUSTRY                 ) MDL No. 1456

         AVERAGE WHOLESALE PRICE                        ) Civil Action No.

         LITIGATION                                     ) 01-12257-PBS

         ---------------------------------X

         THIS DOCUMENT RELATES TO:                      ) Hon. Patti B.

         United States of America ex rel. ) Saris

         Ven-A-Care of the Florida Keys,                )

         Inc. v. Dey, Inc., et al., Civil )

         Action No. 05-11084-PBS; and                   )

         United States of America ex rel. )

         Ven-A-Care of the Florida Keys,                )

         Inc. v. Boehringer Ingelheim                   )

         Corp., et al., Civil Action No.                )

         07-10248-PBS                                   )

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                           Videotaped deposition of

             THE DELAWARE DIVISION OF MEDICAID AND MEDICAL

                          ASSISTANCE by FRANK O'CONNOR

                    December 10, 2008 - Newark, Delaware




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                                                                                         Page 70
    1
             of that.
    2
                        Q.          In the change to the state plan
    3
             amendment that we just discussed, was the
    4
             determination of the percentage off AWP; that is,
    5
             the determination of what the state's estimated
    6
             acquisition costs would be going forward in its
    7
             state plan, was that determination based in any
    8
             way on the amount of the dispensing fee?
    9
                        A.          No.
 10
                                    MS. RAMSEY:              Objection.
 11
                                    THE WITNESS:              No.
 12
                                    MS. HEALY SMITH:                What's the objection?
 13
                                    MS. RAMSEY:              I feel the -- objection to
 14
             the form of the question.                           It's vague and
 15
             unclear.
 16
             BY MS. HEALY SMITH:
 17
                        Q.          So the state did not consider the
 18
             dispensing fee in setting the estimated
 19
             acquisition costs in its reimbursement
 20
             methodology in the 2002/2003 change we discussed?
 21
                                    MS. RAMSEY:              Objection.    Leading.
 22
                                    This is your witness.                You can't ask

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                                                                                            Page 71
    1
             leading questions.
    2
                                    MS. HEALY SMITH:                   Your objection's
    3
             noted.
    4
                                    THE WITNESS:                 The -- the -- we -- there
    5
             was at that time a proposal that maybe we should
    6
             increase the dispensing fee, but the secretary
    7
             said, no, we don't have any data on that, that's
    8
             not what we're about.                              We were look -- we're
    9
             looking at the data about what the pharmacies are
 10
             paying for drugs; that's the data we have and
 11
             that's the piece of this that we're working on
 12
             and that's what we -- he didn't agree that we
 13
             should make any changes to the dispensing fee.
 14
             BY MS. HEALY SMITH:
 15
                        Q.          Does Delaware have a policy to pay
 16
             inflated acquisition -- ingredient costs, I'm
 17
             sorry, to make up for a dispensing fee it
 18
             considers inadequate?
 19
                                    MS. RAMSEY:                 Objection.
 20
                                    MR. CYR:                 Objection.
 21
                                    THE WITNESS:                 No.
 22
             BY MS. HEALY SMITH:

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